               Case 2:23-cr-00179-RAJ Document 68 Filed 03/01/24 Page 1 of 3




 1                                                         Magistrate Judge Brian A. Tsuchida

 2
 3
 4
 5
 6
                           UNITED STATES DISTRICT COURT FOR THE
 7                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 8
                                                        NO. CR23-179 RAJ
 9      UNITED STATES OF AMERICA,

10                             Plaintiff,               UNITED STATES’ REPLY IN SUPPORT
                                                        OF MOTION TO MODIFY BOND
11                        v.

12      CHANGPENG ZHAO, a/k/a “CZ,”

13                             Defendant.

14
15 I.       INTRODUCTION

16          The United States has moved to modify Defendant Changpeng Zhao’s bond to

17 include routine conditions of pretrial release. Dkt. 63. The motion was based on a major
18 change in Zhao’s circumstances: instead of being allowed to return to his home in the
19 United Arab Emirates, Zhao has been ordered to remain in the United States through
20 sentencing. The original bond conditions were based on the expectation that Zhao would
21 be living in the UAE, and so they did not address matters such as custody of his passports
22 and notifications to Pretrial Services related to his travel plans and residence. The United
23 States filed its motion to modify the bond conditions to address these basic issues and to
24 ensure that routine conditions are in place for Zhao as they would be for any other
25 defendant on presentencing release. The government did not allege Zhao committed any
26 violations of his release, but instead proposed modifications that are standard, minimally
27 restrictive, appropriate, and consistent with the Court’s orders.
     U.S. Reply in Support of Mot. to Modify Bond - 1               UNITED STATES ATTORNEY
     United States v. Zhao / CR23-179 RAJ                          700 STEWART STREET, SUITE 5220
                                                                     SEATTLE, WASHINGTON 98101
                                                                           (206) 553-7970
               Case 2:23-cr-00179-RAJ Document 68 Filed 03/01/24 Page 2 of 3




 1 II.      DISCUSSION
 2          The defense criticizes the government for delay in filing its motion. Dkt. 65. But the
 3 delay occurred because the government engaged in protracted negotiations with defense
 4 counsel to try to file a consent motion. Judge Jones ordered Zhao to remain in the United
 5 States on December 7, 2023. Dkt. 46. The government emailed defense counsel a draft
 6 motion to modify on December 12 and invited edits and discussion. Weeks of back-and-
 7 forth followed, including at least five conference calls and four drafts of the motion sent
 8 by the government to the defense for their review. The government accepted some
 9 revisions proposed by the defense. In the end, however, the parties could not come to a
10 complete agreement on the bond modifications. The defense also wanted the motion to say
11 that the modifications were “unwarranted.” Dkt. 65 at 4. The government could not agree
12 to that, because the modifications are warranted. After multiple calls, emails, and drafts,
13 the government decided that further discussion was fruitless and filed its motion.
14          As for the motion’s substance, the defense does not object to modifications 1
15 (remain in the continental U.S. through sentencing) or 3 (custody of passports).
16          With respect to proposed modification 2 (notification of travel plans), the defense
17 objects only to requiring notice to the government so that it may object to any proposed
18 travel. The defense says this requirement is unnecessary because Zhao’s travel “has not
19 been an issue to date.” Dkt. 65 at 8. But something that “has not been an issue to date” can
20 become an issue in the future. The defense also argues that the government could not have
21 a “reasonable basis” to object to Zhao’s travel. Id. In truth, it is easy to imagine scenarios
22 in which concerns could arise about post-plea travel by a multibillionaire defendant whose
23 permanent residence is in a nonextraditable country (UAE) and who has Canadian
24 citizenship. For example, if Zhao wanted to travel to the Canadian border shortly before
25 sentencing, the government could legitimately worry that he might be planning to flee.
26 Notably, the proposed modification does not require the government’s permission for Zhao
27 to travel—it requires only notice and an opportunity to raise the matter with the Court. This
     U.S. Reply in Support of Mot. to Modify Bond - 2                UNITED STATES ATTORNEY
     United States v. Zhao / CR23-179 RAJ                           700 STEWART STREET, SUITE 5220
                                                                      SEATTLE, WASHINGTON 98101
                                                                            (206) 553-7970
                   Case 2:23-cr-00179-RAJ Document 68 Filed 03/01/24 Page 3 of 3




 1 is a modest and reasonable requirement.
 2              The defense objects to proposed modification 4, which would require Zhao to
 3 maintain his residence as directed and obtain the approval of Pretrial Services before
 4 changing his residence. This is a standard, commonsense requirement—defendants on
 5 release should not move without the knowledge and approval of the supervising Pretrial
 6 Services Officer. Defendants in this District are routinely subject to this restriction, and
 7 nothing entitles Zhao to be excused from it. 1
 8 III.         CONCLUSION
 9              The Court should modify the bond as proposed in the government’s motion.
10              March 1, 2024                                    Respectfully submitted,
11
   MARGARET MOESER                                               TESSA M. GORMAN
12 Acting Chief, Money Laundering and                            United States Attorney
   Asset Recovery Section                                        Western District of Washington
13 Criminal Division
14 U.S. Department of Justice                                    s/ Michael Dion
                                                                 MICHAEL DION
15 s/ Kevin G. Mosley                                            JONAS LERMAN
16 KEVIN G. MOSLEY                                               Assistant United States Attorneys
   ELIZABETH R. CARR
17 Trial Attorneys                                               I certify that this pleading contains 671
                                                                 words, in compliance with the Local
18 JENNIFER KENNEDY GELLIE                                       Criminal Rules
19 Executive Deputy Chief performing the
   duties of Chief, Counterintelligence and
20 Export Control Section
   National Security Division
21
   U.S. Department of Justice
22
   s/ Beau D. Barnes
23 BEAU D. BARNES
24 ALEX WHARTON
   Trial Attorneys
25
26   1
      As the government informed the defense before filing the bond motion, Pretrial Services also supports two other
27   bond conditions that the government is not requesting. See Dkt. 63 at 2 nn.1&2. The government included those
     footnotes in the motion to inform the Court of Pretrial Services’ position.
         U.S. Reply in Support of Mot. to Modify Bond - 3                         UNITED STATES ATTORNEY
         United States v. Zhao / CR23-179 RAJ                                    700 STEWART STREET, SUITE 5220
                                                                                   SEATTLE, WASHINGTON 98101
                                                                                         (206) 553-7970
